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Attorneys for Plaintiff


                          IN THE UNITED STATES DISTRICT COURT
                                   DISTRICT OF IDAHO
                                   SOUTHERN DIVISION

                                                   )
 JASON BEARD, Individually and on Behalf
                                                   )
 of All Others Similarly Situated,
                                                   )
                                                   )
                          Plaintiff,
                                                   )
                                                   )
         v.
                                                   )   Civil Action No. 1:18-cv-131
                                                   )
 U.S. GEOTHERMAL INC., JOHN H.
                                                   )   COMPLAINT FOR VIOLATION OF THE
 WALKER, PAUL LARKIN, LELAND
                                                   )   SECURITIES EXCHANGE ACT OF 1934
 MINK, JAMES C. PAPPAS, RANDOLPH J.
                                                   )
 HILL, ALI HEDAYAT, and DOUGLAS J.
                                                   )   JURY TRIAL DEMANDED
 GLASPEY,
                                                   )
                                                   )
                          Defendants.
                                                   )
                                                   )

       Plaintiff Jason Beard (“Plaintiff”), by and through his attorneys, alleges the following on

information and belief, except as to the allegations specifically pertaining to Plaintiff, which are

based on personal knowledge.

                                       NATURE OF THE ACTION

       1.       This action stems from a proposed transaction (the “Proposed Transaction” or

“Merger”) announced on January 24, 2018, pursuant to which U.S. Geothermal Inc. (“U.S.

Geothermal” or the “Company”) will be acquired by Ormat Technologies Inc. (“Ormat”) through

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its subsidiary Ormat Nevada Inc. (“Parent”) and Parent’s wholly owned subsidiary, OGP Holding

Corp. (“Merger Sub”).

       2.       On January 24, 2018, U.S. Geothermal’s Board of Directors (the “Board” or the

“Individual Defendants”) caused the Company to enter into an Agreement and Plan of Merger (the

“Merger Agreement”) with Parent and Merger Sub.            Pursuant to the terms of the Merger

Agreement, Parent will purchase each issued and outstanding share of U.S. Geothermal common

stock for $5.45 in cash (the “Merger Consideration”). Upon completion of the Merger, Merger

Sub will merge with and into U.S. Geothermal, with U.S. Geothermal surviving the merger as a

wholly owned subsidiary of Parent.

       3.       On March 20, 2018, Defendants (as defined below) filed a preliminary Proxy

Statement on Schedule 14A with the United States Securities and Exchange Commission (“SEC”)

in connection with the Proposed Transaction (the “Proxy”). As described herein, the Proxy omits

certain material information with respect to the Proposed Transaction, which renders it false and

misleading, in violation of Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 (the

“Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and SEC Rule 14a-9, 17 C.F.R. 140.14a-9 (“Rule

14a-9”) promulgated thereunder.

       4.       Plaintiff seeks to enjoin Defendants from taking any steps to consummate the

Proposed Transaction or, in the event the Proposed Transaction is consummated, to recover

damages resulting from Defendants’ wrongdoing described herein.

                                 JURISDICTION AND VENUE

       5.       This Court has subject matter jurisdiction over all claims asserted herein pursuant

to Section 27 of the Exchange Act, 15 U.S.C § 78aa, and 28 U.S.C. § 1331, as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act.



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       6.       This Court has personal jurisdiction over all of the Defendants because each is

either a corporation that conducts business in, solicits shareholders in, and/or maintains operations

within, this District, or is an individual who is either present in this District for jurisdictional

purposes or has sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

       7.       Venue is proper under 28 U.S.C. § 1391 because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

       8.       Plaintiff is, and has been at all times relevant hereto, the owner of U.S. Geothermal

common stock.

       9.       Defendant U.S. Geothermal is a Delaware corporation, with its principal executive

offices located in Boise, Idaho. U.S. Geothermal common stock is listed on the NYSE American

exchange under the symbol “HTM.”

       10.      Defendant John H. Walker (“Walker”) has served as Chairman of the U.S.

Geothermal Board since December of 2003.

       11.      Defendant Douglas J. Glaspey (“Glaspey”) is the President, Chief Operating

Officer, and Interim Chief Executive Officer of U.S. Geothermal. He has also served as a director

of the Company since 2000.

       12.      Defendant Ali Hedayat (“Hedayat”) has served as a director of U.S. Geothermal

since 2017.

       13.      Defendant Randolph J. Hill (“Hill”) has served as a director of U.S. Geothermal

since September 2016.




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         14.    Defendant James C. Pappas (“Pappas”) has served as a director of U.S. Geothermal

since September 2016. According to the Proxy, he beneficially owns 14.79 percent of Company

stock.

         15.    Defendant Dr. Leland L. Mink (“Mink”) has served as a director of U.S.

Geothermal since 2006.

         16.    Defendant Paul Larkin (“Larkin”) has served as a director of the Company since

2000.

         17.    The defendants listed in ¶¶ 10-16 are collectively referred to herein as the

“Individual Defendants.”

         18.    The Individual Defendants and U.S. Geothermal are referred to herein as

“Defendants.”

                                SUBSTANTIVE ALLEGATIONS

         19.    Incorporated in 2000 as a Delaware corporation, U.S. Geothermal, a “green” energy

company, is in the business of constructing, managing, and operating power plants utilizing

geothermal resources to produce electricity. As the Company explained in a recent filing,

geothermal resources are derived from “the natural heat energy stored within the earth’s crust.”

The Company’s operations are primarily focused in the Western United States and in Guatemala.

         20.    In soliciting shareholder approval for the Proposed Transaction, Defendants issued

the Proxy, which purports to contain a summary/overview of the Proposed Transaction, but omits

certain critical information, rendering portions of the Proxy materially incomplete and/or

misleading, in violation of the Securities Act provisions discussed herein. As a result, U.S.

Geothermal shareholders lack material information necessary to allow them to make an informed

decision concerning whether to vote in favor of the Merger.

         21.    First, the Proxy states that “[f]ollowing the merger, and pursuant to the terms of the
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merger agreement, the members of the Board will be replaced by the Board of merger sub.” Proxy

at 36. The Proxy, however, does not provide a similar disclosure with respect to the Company’s

executive officers. Disclosure as to whether any executive officers will be retained by Ormat

would shed light on potential conflicts of interest, as it is reasonable to assume that a company’s

leadership might be biased in favor of a party enticing it with post-Merger employment. Yet there

is no disclosure as to whether the U.S. Geothermal executives discussed their post-Merger futures

with Ormat. Disclosure concerning post-Merger employment is particularly needed here, as the

Proxy notes Defendant Glaspey (a director but also the Company’s CEO), exerted important

influence during the merger process, communicating and meeting with potential buyers.

       22.     Second, the Proxy fails to fully disclose the potential conflicts of interest of the

Company’s financial advisor, ROTH Capital Partners, LLC (“ROTH”), whom the Company

retained to provide an opinion as to the fairness of the Merger Consideration. Specifically, the

Proxy notes that “[i]n the past two years, no material relationship existed between the Company

and/or its affiliates and ROTH and/or its affiliates pursuant to which compensation, other than a

$75,000 fee for general financial advisory services, was received by ROTH or its affiliates as a

result of such relationship.” Proxy at 45. However, this begs the question as to whether ROTH

had any such relationship with Ormat. Such a relationship with Ormat would create the potential

that ROTH could be biased in favor of Ormat, rather than U.S. Geothermal, which will, in practice,

cease to exist upon its merger into Ormat. Yet the Proxy is silent on this important issue. Instead,

it is summarily noted (in another section of the Proxy) that immediately before the Board voted to

approve on January 23, 2018, “ROTH confirmed that it had no conflict of interest with respect to

Ormat.” This conclusory statement simply parrots ROTH’s self-serving assurances to the Board,

and, notably, does not deny the existence of a relationship with Ormat. This disclosure is also



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clearly insufficient as the Proxy notes that also on January 23, 2018, the Board’s special committee

learned that the “parent” under the Merger Agreement would be Ormat Nevada, not Ormat

Technologies. Id. As a result, the committee was required to perform due diligence concerning

Ormat Nevada’s ability to finance the Merger. Id. Given this backdrop, it is not entirely clear

which Ormat the Proxy is identifying when it states that “ROTH confirmed that it had no conflict

of interest with respect to Ormat.”

       23.     Third, the Proxy contains materially incomplete and/or misleading information

concerning the financial analyses performed by ROTH in support of its opinion that the Merger

Consideration is fair to U.S. Geothermal stockholders. Specifically, the Proxy states that in

rendering its fairness opinion, ROTH performed a “Present Value of Cash Flow Analysis” (“Cash

Flow Analysis”). As pertinent here, the Proxy notes that in connection with this analysis, “ROTH

calculated ranges of the estimated present values of the Company’s unlevered, after-tax free cash

flows attributable to stockholders of the Company that the Company forecasted to generate from

January 1, 2018 through fiscal year 2047 by applying discount rates ranging from 8.0% to 10.0%

for the Company’s operating and expansion projects and 14.0% to 16.0% for the Company’s

development projects, reflecting ROTH’s estimates of the Company’s cost of capital for such

projects.” Proxy at 45. From these discount rates, ROTH arrived at “a range of equity values for

the Company of $3.56 per share to $4.25 per share.” Id. The Proxy, however, fails to disclose the

inputs ROTH used to arrive at the 8-10 percent and 14-16 percent discount rates, aside from its

vague reference to “ROTH’s estimates of the Company’s cost of capital for such projects.”

       24.     The discount rate inputs are material to shareholders in deciding how to vote their

shares, as the lack of disclosure of the inputs that were used by ROTH in its Cash Flow Analysis

prevents shareholders from understanding the context of the figures or considering whether any of



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the inputs thereto or ranges derived therefrom are anomalous. Absent this information, U.S.

Geothermal shareholders are unable to determine whether the Proposed Transaction is indeed fair

and in their best interest. Indeed, the real informative value of the financial advisor’s work is not

in its conclusion, but in the valuation analyses that buttress that result. When a financial advisor’s

endorsement of the fairness of a transaction is touted to shareholders (see Proxy at 30), the key

inputs used to arrive at those conclusions, must also be fairly disclosed.

           25.   Fourth, the Proxy fails to disclose whether ROTH incorporated the Company’s net

operating loss carry forwards (“NOLs”) into its Cash Flow Analysis. Here, U.S. Geothermal

disclosed in a recent Form 10-K that “[a]t December 31, 2017, the Company had federal net

operating loss carry forwards of approximately $109 million and state net operating loss carry

forwards of approximately $44 million, which expire in the years 2023 through 2037,” i.e.

approximately $153 million in NOLs. Given the Proxy’s disclosure of 19,494,566 shares of

common stock issued and outstanding as of March 1, 2018 (not including shares issuable upon

exercise of options), U.S. Geothermal’s gross NOL, on a pro rata basis would be approximately

$7.80. A gross benefit of $7.80 is substantial, given that the Merger Consideration is only $5.45

per share.       Without (i) adequate disclosure concerning whether ROTH considered U.S.

Geothermal’s NOLs (when said consideration may have affected ROTH’s analysis), or (ii) an

explanation as to why the NOLs would have not substantially affected ROTH’s analysis,

shareholders are deprived of material information concerning the adequacy of ROTH’s methods.

Accordingly, the Proxy’s failure to provide additional disclosure calls into question ROTH’s

opinion—which the Proxy touts as grounds to support the Merger—that the Merger Consideration

is fair.




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                               CLASS ACTION ALLEGATIONS

       26.      Plaintiff brings this action as a class action pursuant to Fed. R. Civ. P. 23 on behalf

of himself and the other public shareholders of U.S. Geothermal (the “Class”). Excluded from the

Class are Defendants herein and any person, firm, trust, corporation, or other entity related to or

affiliated with any of the Defendants.

       27.      This action is properly maintainable as a class action for the following reasons:

                a.     The Class is so numerous that joinder of all members is impracticable. As

of March 1, 2018, there were over 19 million shares of U.S. Geothermal common stock

outstanding, held by hundreds, if not thousands, of individuals and entities scattered throughout

the country.

                b.     Questions of law and fact are common to the Class, including, among

others: (i) whether Defendants have violated Sections 14(a) and 20(a) of the Exchange Act in

connection with the Proposed Transaction; and (ii) whether Plaintiff and the Class would be

irreparably harmed if the Proposed Transaction is consummated as currently contemplated and

pursuant to the Proxy as currently composed.

                c.     Plaintiff is an adequate representative of the Class, has retained competent

counsel experienced in litigation of this nature, and will fairly and adequately protect the interests

of the Class.

                d.     Plaintiff’s claims are typical of the claims of the other members of the Class

and Plaintiff does not have any interests adverse to the Class.

                e.     The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to individual members of




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the Class which would establish incompatible standards of conduct for the party opposing the

Class.

                f.       A class action is superior to other available methods for fairly and

efficiently adjudicating this controversy.

                g.       Defendants have acted, or refused to act, on grounds generally applicable to

the Class as a whole, and, are causing injury to the entire Class. Therefore, preliminary and final

injunctive relief on behalf of the Class as a whole is entirely appropriate.

                                       CAUSES OF ACTION

                                            COUNT I
                     Claim for Violation of Section 14(a) of the Exchange Act
                            and Rule 14a-9 Promulgated Thereunder
                                    (Against All Defendants)

          28.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          29.   Section 14(a)(1) of the Exchange Act makes it “unlawful for any person . . . to

solicit or to permit the use of his name to solicit any proxy or consent or authorization in respect

of any security (other than an exempted security) registered pursuant to section 78l of this title.”

15 U.S.C. § 78n(a)(1).

          30.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that solicitation communications with shareholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9(a).

          31.   Rule 14a-9 further provides that, “[t]he fact that a proxy statement, form of proxy

or other soliciting material has been filed with or examined by the Commission shall not be deemed

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a finding by the Commission that such material is accurate or complete or not false or misleading,

or that the Commission has passed upon the merits of or approved any statement contained therein

or any matter to be acted upon by security holders. No representation contrary to the foregoing

shall be made.” 17 C.F.R. § 240.14a-9(b).

       32.     As discussed herein, the Proxy misrepresents and/or omits material facts

concerning the Merger.

       33.     Defendants prepared, reviewed, filed and disseminated the false and misleading

Proxy to U.S. Geothermal shareholders. In doing so, Defendants knew or recklessly disregarded

that the Proxy failed to disclose material facts necessary in order to make the statements made, in

light of the circumstances under which they were made, not misleading.

       34.     The omissions and incomplete and misleading statements in the Proxy are material

in that a reasonable shareholder would consider them important in deciding how to vote their

shares. In addition, a reasonable investor would view such information as altering the “total mix”

of information made available to shareholders.

       35.     By virtue of their positions within the Company and/or roles in the process and in

the preparation of the Proxy, Defendants were undoubtedly aware of this information and had

previously reviewed it, including participating in the Merger negotiation and sales process and

reviewing UBS’s complete financial analyses purportedly summarized in the Proxy.

       36.     The Individual Defendants undoubtedly reviewed and relied upon the omitted

information identified above in connection with their decision to approve and recommend the

Merger.

       37.     U.S. Geothermal is deemed negligent as a result of the Individual Defendants’

negligence in preparing and reviewing the Proxy.



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          38.   Defendants knew that Plaintiff and the other members of the Class would rely upon

the Proxy in determining whether to vote in favor of the Merger.

          39.   As a direct and proximate result of Defendants’ unlawful course of conduct in

violation of Section 14(a) of the Exchange Act and Rule 14d-9, absent injunctive relief from the

Court, Plaintiff and the other members of the Class will suffer irreparable injury by being denied

the opportunity to make an informed decision as to whether to vote in favor of the Merger.

          40.   Plaintiff and the Class have no adequate remedy at law.

                                          COUNT II
                   Claim for Violations of Section 20(a) of the Exchange Act
                             (Against the Individual Defendants)

          41.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          42.   The Individual Defendants acted as controlling persons of U.S. Geothermal within

the meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions

as officers and/or directors of U.S. Geothermal, and participation in and/or awareness of the

Company’s operations and/or intimate knowledge of the false statements contained in the Proxy

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

          43.   Each of the Individual Defendants were provided with or had unlimited access to

copies of the Proxy and other statements alleged by Plaintiff to be misleading prior to and/or

shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.




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       44.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

alleged herein, and exercised the same. The Proxy contains the unanimous recommendation of

each of the Individual Defendants to approve the Merger. They were thus directly connected with

and involved in the making of the Proxy.

       45.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the Exchange

Act and Rule 14d-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons and the acts described herein, the Individual Defendants are liable pursuant to

Section 20(a) of the Exchange Act.

       46.     As a direct and proximate result of Individual Defendants’ conduct, Plaintiff will

be irreparably harmed.

       47.     Plaintiff and the Class have no adequate remedy at law.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff prays for judgment and relief as follows:

       A.      Ordering that this action may be maintained as a class action and certifying Plaintiff

as the Class Representative and Plaintiff’s counsel as Class Counsel;

       B.      Preliminarily and permanently enjoining Defendants and all persons acting in

concert with them from proceeding with, consummating, or closing the Proposed Transaction;

       C.      Directing the Individual Defendants to disseminate an Amendment to its Schedule

14A that does not contain any untrue statements of material fact and that states all material facts

required in it or necessary to make the statements contained therein not misleading;



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       D.      Directing Defendants to account to Plaintiff and the Class for their damages

sustained because of the wrongs complained of herein;

       E.      Awarding Plaintiff the costs of this action, including reasonable allowance for

Plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                         JURY DEMAND

       Plaintiff demands a trial by jury on all issues so triable.

Dated: March 21, 2018                           JONES & SWARTZ PLLC


                                                /s/ Eric B. Swartz
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          Mar, 20.2018              9:37AM                                                               No. 9533     P. 1




                                                    PLAINTIFF CERTIFICATION
                                               UNDER THE FEDERAL SECURITIES LAWS

                           I, Jason Beard, hereby state:

                       1.       I have reviewed the complaint against U.S. Geothermal Inc. ("U.S. Geothermal") and
                certain of its directors and officers. I have authorized the filing of a complaint and lead plaintiff
                motion on my behalf.

                      2.       I am willing to serve as a representative party on behalf of the Class, including
                providing testimony at deposition and trial, if necessary.

                       3.      I currently own 833 U.S Geothermal shares, which I bought on the following dates and
                for the following per share prices:

                                      Date      0 of shares purchased      # of shares sold         Price per share
                                   /0/029444    (4)0a0 ) 6 i44 Ski-            0„.00                   a s-V
                                                    e33                                               3, 4tir         45 0-1 (2,31-19-
                                     Ato id                                    0, 00




                                    TOTAL

                       4.      I did not purchase these securities at the direction of counsel, or in order to participate
                in any private action arising under the federal securities laws.

                       5.      During the three-year period preceding the date of signing this certification, I have not
                made a motion to serve, and have not served, as a lead plaintiff on behalf of a class in any private
                action arising under the federal securities laws.

                       6.      I will not accept any payment for serving as a representative party on behalf of the
                Class except to receive a pro rata share of any recovery, or as ordered or approved by the Court,
                including the award to a representative party of reasonable costs and expenses, including lost wages
                relating to the representation of the Class.

                I declare under penalty of perjury that the foregoing is true and correct.

                Executed this 020 day of March, 2018



                                                                By:
